                             Nos. 24-2643, 24-2644 (consol.)

                                   IN THE
                       UNITED STATES COURT OF APPEALS
                          FOR THE SEVENTH CIRCUIT

 BENJAMIN SCHOENTHAL, MARK                        )   Appeal from the United States
 WROBLEWSKI, JOSEPH VESEL, and                    )   District Court for the Northern
 DOUGLAS WINSTON,                                 )   District of Illinois, Western
                                                  )   Division
           Plaintiffs-Appellees,                  )
                                                  )
 v.                                               )
                                                  )
 KWAME RAOUL, in his official capacity as         )   No. 3:22-cv-50326
 Attorney General of Illinois; ROBERT             )
 BERLIN, in his official capacity as State’s      )
 Attorney of DuPage County, Illinois; and         )
 KIMBERLY M. FOXX, in her official                )
 capacity as State’s Attorney of Cook             )
 County, Illinois,                                )   The Honorable
                                                  )   IAIN D. JOHNSTON,
           Defendants-Appellants.                 )   Judge Presiding.

                             DOCKETING STATEMENT

       Defendants-Appellants Kwame Raoul, in his official capacity as Attorney

General of Illinois; Robert Berlin, in his official capacity as State’s Attorney of

DuPage County; and Kimberly M. Foxx, in her official capacity as State’s Attorney of

Cook County, Illinois, jointly submit this docketing statement as required by 7th Cir.

R. 3(c).

A.     District Court Jurisdiction

       Plaintiffs-Appellees filed this action in the district court under 42 U.S.C.

§ 1983, alleging that an Illinois statute restricting the circumstances under which

individuals can lawfully carry concealed weapons on public transportation, see 430
ILCS 66/65(a)(8), violates the Second Amendment to the United States Constitution,

and seeking declaratory and injunctive relief. Doc. 1. 1 As defendants, they named

the following individuals in their official capacities: Illinois Attorney General Kwame

Raoul, DeKalb County State’s Attorney Rick Amato, DuPage County State’s

Attorney Robert Berlin, Cook County State’s Attorney Kimberly M. Foxx, and Lake

County State’s Attorney Eric Rhinehart. Id. at 7-9.

      The district court lacked subject-matter jurisdiction in part because plaintiffs

failed to allege Article III standing as to certain aspects of their claims. See Doc. 65

at 5-6; Doc. 109 at 8-12. Otherwise, the district court had subject-matter jurisdiction

over plaintiffs’ action pursuant to 28 U.S.C. § 1331.

B.    Appellate Jurisdiction

      On August 30, 2024, the district court entered an order dismissing the claims

against Amato and Rhinehart without prejudice for lack of subject-matter jurisdiction

and granting summary judgment under Fed. R. Civ. P. 56 in plaintiffs’ favor on the

claims against Raoul, Berlin, and Foxx, Doc. 108, thereby disposing of all claims

against all parties. That same day, a separate judgment order was entered on the

district court docket pursuant to Fed. R. Civ. P. 58. Doc. 109. No motion to alter or

amend the judgment was filed.

      On September 19, 2024, Raoul and Berlin filed a notice of appeal, Doc. 115,

which was docketed as No. 24-2643. On September 20, 2024, Foxx filed a notice of



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  Entries on the district court’s docket are cited “Doc.” and entries on this court’s
docket are cited “7th Cir. Doc.”

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appeal, Doc. 117, which was docketed as No. 24-2644. This court consolidated these

appeals for purposes of briefing and disposition. 7th Cir. Doc. 2. 2

       This court has jurisdiction over this consolidated appeal pursuant to 28 U.S.C.

§ 1291. Both notices of appeal were timely under 28 U.S.C. § 2107(a) and Fed. R.

App. P. 4(a)(1)(A) because they were filed within 30 days of the judgment’s entry.

That judgment was final for purposes of section 1291, even though the claims against

Amato and Rhinehart were dismissed without prejudice and regardless of any

technical deficiencies in the Rule 58 judgment order.

       While a dismissal without prejudice usually does not qualify as an appealable

final judgment, Larkin v. Galloway, 266 F.3d 718, 721 (7th Cir. 2001), Amato and

Rhinefort were dismissed for lack of jurisdiction, see Doc. 108 at 49, and such a

dismissal is final for purposes of appeal, Bovee v. Broom, 732 F.3d 743, 743-44 (7th

Cir. 2013).

       And although the separate judgment entered by the district court did not

comply with Rule 58, see 7th Cir. Doc. 2, this court has long recognized that

“violations of Rule 58 are not jurisdictional.” Metzl v. Leininger, 57 F.3d 618, 619

(7th Cir. 1995). Although compliance with Rule 58 “is important because it keeps

jurisdictional lines clear,” a district court’s failure to comply with that rule “is not

fatal to [appellate] jurisdiction if the district court has otherwise indicated its intent


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  In that order, the court also stated that the judgment order did not comply with
Fed. R. Civ. P. 58 and directed the parties to file “a brief memorandum stating why
these appeals should not be remanded to the district court to enter a proper
judgment” by October 4, 2024. 7th Cir. Doc. 2. That separate memorandum is
forthcoming.

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to finally dispose of all claims.” Wis. Cent. Ltd. v. TiEnergy, LLC, 894 F.3d 851, 854

(7th Cir. 2018). Here, the district court indicated its intent to finally dispose of all

claims by stating that it had “decided” the case, Doc. 109, and the court’s opinion —

which sets forth the declaratory relief the court intended to grant, Doc. 108 at 49-50

— makes clear that the court did, in fact, declare the rights of the parties. See GNB

Battery Technologies v. Gould, Inc., 65 F.3d 615, 621 (7th Cir. 1995) (concluding that

a court’s decision was final because, when “the laconic Rule 58 judgment is read with

the accompanying opinion of the district court, it is clear that the court declared the

rights of the parties”). This court thus has appellate jurisdiction under 28 U.S.C.

§ 1291.

C.     Additional Items Required by 7th Cir. R. 3(c)

       There are no prior or related appellate proceedings in this case, and no parties

or claims remain for disposition in the district court. All appellants named in their

official capacities as public officeholders remain in those offices. This case does not

involve any criminal convictions or any collateral attack on a criminal conviction, and

we are not aware of any plaintiff having been assessed any strikes under 28 U.S.C.

§ 1915(g).



                                                 Respectfully submitted,

 KIMBERLY M. FOXX                                KWAME RAOUL
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 Cook County                                     State of Illinois




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September 26, 2024




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                  CERTIFICATE OF FILING AND SERVICE

      I hereby certify that on September 26, 2024, I electronically filed this

docketing statement with the Clerk of the Court for the United States Court of

Appeals for the Seventh Circuit using the CM/ECF system.

      All participants in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.


                                            /s/ Alex Hemmer
                                            ALEX HEMMER
